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     Attorney for Defendant
 5   CECILIO MENDEZ-PRIETO
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
 9
10 UNITED STATES OF AMERICA,
                                                         Case No. 10-CR-0290 FCD
11                  Plaintiff,

12 v.
                                                         STIPULATION AND ORDER FOR
13                                                       CONTINUANCE OF STATUS
     CECILIO MENDEZ-PRIETO, et al.                       CONFERENCE (AMENDED)
14
                    Defendant.
15
16
17
18                                              STIPULATION
19          Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Michael Beckwith, defendant Jacob Daniel Cobb, by and through his counsel, Jeffrey
21   Staniels, and defendant Cecilio Mendez-Prieto, by and through his counsel, Erin J. Radekin, agree
22   and stipulate to vacate the date set for status conference, October 27, 2011 at 10:00 a.m., in the
23   above-captioned matter, and to continue the status conference to December 8, 2011 at 10:00 a.m., in
24   the courtroom of the Honorable Kimberly J. Mueller.
25          The reason for this request is that the parties need additional time for investigation, to obtain
26   documents for use in sentencing, plea negotiations, and other defense preparation. The Court is
27   advised that Mr. Beckwith and Mr. Staniels concur with this request and have authorized Ms.
28   Radekin to sign this stipulation on their behalf.
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 1          The parties further agree and stipulate that the time period from the filing of this stipulation
 2   until December 8, 2011 should be excluded in computing time for commencement of trial under the
 3   Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 4   Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 5   preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 6   outweigh the best interests of the public and the defendant in a speedy trial.
 7          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 8   IT IS SO STIPULATED
 9   Dated: October 25, 2011                                  BENJAMIN WAGNER
                                                              United States Attorney
10
                                                       By:           /s/ Erin J. Radekin for
11                                                            MICHAEL BECKWITH
                                                              Assistant United States Attorney
12
13   Dated: October 25, 2011                                        /s/ Erin J. Radekin
                                                              ERIN J. RADEKIN
14                                                            Attorney for Defendant
                                                              CECILIO MENDEZ-PRIETO
15
     Dated: October 25, 2011                                        /s/ Erin J. Radekin for
16                                                            JEFFREY STANIELS
                                                              Attorney for Defendant
17                                                            JACOB DANIEL COBB
18                                                    ORDER
19          For the reasons set forth in the accompanying stipulation and declaration of counsel, the
20   status conference date of October 27, 2011 at 10:00 a.m. is VACATED and the above-captioned
21   matter is set for status conference on December 8, 2011 at 10:00 a.m. The court finds excludable
22   time in this matter through December 8, 2011 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code
23   T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
24   preparation. For the reasons stipulated by the parties, the Court finds that the interest of justice
25   served by granting the request outweigh the best interests of the public and the defendant in a speedy
26   trial. 18 U.S.C. 3161(h)(7)(A), (h)(7)(B)(iv).
27          IT IS SO ORDERED.
28   Dated: October 25, 2011.
                                                                  UNITED STATES DISTRICT JUDGE

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